
USCA1 Opinion

	




          March 24, 1994        [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-1908                                             LEVON A. GARABEDIAN,                                     Petitioner,                                          v.                       IMMIGRATION AND NATURALIZATION SERVICE,                                     Respondent.                                  __________________                          ON PETITION FOR REVIEW OF AN ORDER                         OF THE BOARD OF IMMIGRATION APPEALS                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                          Selya and Boudin, Circuit Judges.                                            ______________                                 ___________________               George  A.  Pliakas  and   Peter  A.  Allen  on   brief  for               ___________________        ________________          petitioner.               Frank W. Hunger, Assistant Attorney General, Civil Division,               _______________          Mark  C.  Walters,  Assistant  Director,  Office  of  Immigration          _________________          Litigation, Civil  Division, and  Michele Y. F.  Sarko, Attorney,                                            ____________________          Office of  Immigration, Litigation  Civil Division, on  brief for          respondent.                                  __________________                                  __________________                 Per Curiam.  Petitioner Levon Garabedian seeks review of                 __________            a final  order  of the  Board  of Immigration  Appeals  [BIA]            affirming  a   denial  by   an  immigration  judge   [IJ]  of            petitioner's  application  for discretionary  relief  from an            order  of  deportation.    Petitioner  was  ordered  deported            following  a hearing  in  which he  was  found to  have  been            convicted of  possession of a controlled  substance (cocaine)            and  of  two crimes  of entering  a  dwelling with  intent to            commit larceny, all in violation of the laws of Rhode Island.            Petitioner  conceded that  he  was deportable  under  section            241(a)(11) of  the Immigration  and Nationality Act  [INA], 8            U.S.C.      1251(a)(11),  but  sought   discretionary  relief            pursuant  to section  212(c)  of the  same  act, 8  U.S.C.               1182(c).   A denial  of discretionary  relief will  be upheld            "unless  it  was   made  without   a  rational   explanation,            inexplicably departed from established policies, or rested on            an impermissible basis."  Williams v. INS, 773 F.2d 8, 9 (1st                                      ________    ___            Cir. 1985).  We affirm.                      Petitioner's main contention is that the BIA failed            to  provide   a  rational  explanation  for   its  denial  of            discretionary relief.   Instead,  the BIA merely  stated that            "[u]pon a review of the record, we affirm the [IJ's] decision            and dismiss  the appeal."  The  BIA did note that  it found a            "few  errors in  the Immigration  Judge's decision,  but they            were not  significant  and  in some  instances  were  to  the                                         -2-            benefit of the [petitioner]."  The BIA also found that the IJ            "did  not fail to consider  any of the  evidence submitted by            the [petitioner]."                        While  the  BIA  has  the  discretionary  power  to            conduct de novo review of a decision of an IJ, it is under no                    __ ____            obligation to do so.  Hazzard  v. INS, 951 F.2d 435, 439-40 &amp;                                  _______     ___            n.4 (1st Cir. 1991).  In this case, the BIA explicitly stated            that it was affirming the IJ's decision after having reviewed            the  record.   Since  petitioner  has  presented no  evidence            challenging the accuracy of this claim,  we must presume that            the BIA confirmed  the IJ's findings and adopted  his reasons            for denying the request for discretionary relief.  See McLeod                                                               ___ ______            v. INS, 802 F.2d 89,  95 n.8 (3d Cir. 1986)  (absent evidence               ___            to the contrary,  BIA procedure in reviewing  decision of the            IJ "entitled to a presumption of regularity").   The decision            of the  IJ  contains  a detailed  summary  of  the  evidence,            extensive factual  findings, and a  reasoned explanation  for            his denial of relief.  We are satisfied that this decision of            the IJ  provides the rational explanation  required to uphold            the BIA's denial of discretionary relief.  See DeLeon v. INS,                                                       ___ ______    ___            547 F.2d  142, 149 (2d  Cir. 1976) (even  though BIA did  not            discuss  claim, its  affirmance of decision  of the  IJ shows            that it  adequately considered claim  where most of  the IJ's            decision was  devoted to discussion of  claim), cert. denied,                                                            ____  ______            434 U.S. 841  (1977); Ramirez-Gonzalez v. INS, 695 F.2d 1208,                                  ________________    ___                                         -3-            1213 (9th Cir. 1983)  (even though BIA stated no  reasons for            its decision, the decision  by the IJ which the  BIA affirmed            "supplies the reasons required by the regulation").                      Petitioner  also  claims  that  the  BIA  erred  in            failing  to   give  adequate   weight  to  evidence   of  his            rehabilitation when  it denied him  relief.   See Gouveia  v.                                                          ___ _______            INS, 980 F.2d 814,  816 (1st Cir. 1992) (in  deciding whether            ___            to  exercise  discretion, BIA  must balance  factors favoring            deportation against  factors supporting application,  such as            evidence of  rehabilitation).  The record  indicates that the            IJ  (and  implicitly  the  BIA) considered  the  evidence  of            rehabilitation  but found  it, along  with the  other factors            favoring  relief, insufficient  to meet  petitioner's burden,            see Hazzard, 951  F.2d at 438, of showing that  he deserved a            ___ _______            favorable exercise of discretion.1  As this court  has stated            repeatedly,  as  long  as  the  relevant  factors  have  been            considered, it belongs  to the BIA and  not to this court  to            weigh  the  various  factors  in  arriving  at  the  ultimate            decision  of  whether to  grant  discretionary  relief.   See                                                                      ___            Gouveia, 980 F.2d at 819.              _______                      Affirmed.                      ________                                            ____________________            1.  The immigration  judge did question "whether  or not such            advances  [were] primarily  due  to  the pending  deportation            proceedings."    The  record  contains  evidence  which would            support this evaluation.                                         -4-

